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    GOOGLE LLC AND ALPHABET INC.
 11
 12                            UNITED STATES DISTRICT COURT
 13                         SOUTHERN DISTRICT OF CALIFORNIA
 14
 15 AYNUR BAGHIRZADE,                              )   Case No.: 3:24-CV-01077-RSH-MMP
                                                   )
 16                  Plaintiff,                    )   JOINT MOTION AND
                                                   )   STIPULATION TO EXTEND
 17          v.                                    )   DEFENDANTS GOOGLE LLC
                                                   )   AND ALPHABET INC.’S TIME
 18 ARMENIAN NATIONAL                              )   TO RESPOND TO PLAINTIFF’S
    COMMITTEE OF AMERICA, et al.,                  )   AMENDED COMPLAINT
 19                                                )
            Defendants.                            )
 20                                                )   Before: Judge Robert S. Huie
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      JOINT MOTION AND STIPULATION                                  CASE NO.: 3:24-CV-01077-RSH-MMP
      TO EXTEND TIME TO RESPOND
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  1          Pursuant to Local Rules 7.2 and 12.1, Plaintiff Aynur Baghirzade (“Plaintiff”)
  2 and Defendants Google LLC and Alphabet Inc. (collectively, “Google”),1 by and
  3 through their counsel of record, hereby stipulate and jointly present this motion for
  4 an order extending the time for Google to respond to Plaintiff’s Amended Complaint
  5 filed August 15, 2024 (ECF No. 12) as set forth below:
  6          WHEREAS, on June 21, 2024, Plaintiff filed the Complaint initiating this
  7 action against numerous Defendants, including Google. (ECF No. 1);
  8          WHEREAS, on August 15, 2024, Plaintiff filed an Amended Complaint
  9 against numerous defendants, including Google. (ECF No. 12);
 10          WHEREAS, Plaintiff served Google with the Amended Complaint on August
 11 22, 2024;
 12          WHEREAS, pursuant to the Federal Rules of Civil Procedure, Google’s
 13 response to the Amended Complaint is currently due on or before September 12,
 14 2024;
 15          WHEREAS, Google requests a 30-day extension of time in which to respond
 16 to the Amended Complaint, and good cause exists for such an extension because (1)
 17 Google seeks additional time to assess the allegations in the Amended Complaint;
 18 (2) Google has not previously requested any extension of time in this case; and (3)
 19 some defendants still have not been served.
 20          WHEREAS, Plaintiff agrees to Google’s request.
 21          Accordingly, the parties jointly stipulate to an extension of time for Google to
 22 respond to the Amended Complaint until October 11, 2024.
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         Plaintiff named “Google Inc.” as a Defendant. Google Inc. is no longer an
 28 active business; its successor is Google LLC.
      JOINT MOTION AND STIPULATION                 -1-              CASE NO.: 3:24-CV-01077-RSH-MMP
      TO EXTEND TIME TO RESPOND
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  1                                          Respectfully submitted,
  2 Dated: September 6, 2024                 WILSON SONSINI GOODRICH & ROSATI
                                             Professional Corporation
  3
  4                                           By: /s/ Natalie J. Morgan
                                                  Natalie J. Morgan
  5                                               E-mail: nmorgan@wsgr.com
  6                                                Attorney for Defendants
                                                   GOOGLE LLC and ALPHABET INC.
  7
  8 Dated: September 6, 2024                 PRO SE PLAINTIFF
  9
                                              By: /s/ Aynur Baghirzade
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                                                  Aynur Baghirzade
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      JOINT MOTION AND STIPULATION                 -2-              CASE NO.: 3:24-CV-01077-RSH-MMP
      TO EXTEND TIME TO RESPOND
